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                     UNITED STATES DISTRICT COURT

                        DISTRICT OF SOUTH DAKOTA

                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          4:16-CR-40109-KES

                 Plaintiff,
                                                     ORDER FOR
     vs.                                      APPOINTMENT OF COUNSEL

ANTHONY VINCENT SOZZI,

                 Defendant.



     (X)   The defendant is charged with a felony or with a misdemeanor
           other than a petty offense.

     (X)   The defendant is entitled to appointment of counsel under the
           Sixth Amendment to the Constitution.

     ()    The defendant is charged with civil or criminal contempt and faces
           loss of liberty.

     ( )   The defendant is charged with a violation of probation, or faces a
           change of a term or condition of probation; the defendant is
           entitled to appointment of counsel in parole proceedings; or the
           defendant is charged with a violation of supervised release or faces
           modification, reduction, or enlargement of a condition, or extension
           or revocation of a term of supervised release.

     ()    The defendant is in custody as a material witness.

     ()    The defendant has been called as a witness before a grand jury or
           the court and there is reason to believe, either prior to or during
           testimony, that the witness could be subject to a criminal
           prosecution, a civil or criminal contempt proceeding, or face loss of
           liberty.

     ()    The defendant is proposed by the United States attorney for
           processing under a pretrial diversion program.

     ()    Other: Counsel is appointed in the interests of justice.
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        If no CJA form 23 Financial Affidavit has been submitted to the Judicial
Officer, counsel appointed herein shall submit a completed CJA Form 23 to the
Judicial Officer issuing this Order within five (5) days from the date the Order
is entered. The appointment of counsel herein is subject to the defendant
satisfying the Court of the defendant’s qualification for court-appointed counsel
under 18 U.S.C. § 3006A.
        IT IS ORDERED that the Federal Public Defender for the District of
South Dakota is hereby appointed to represent the defendant in the above-
entitled case.
()      IT IS FURTHER ORDERED that the defendant shall pay $___________ per
month to the Clerk of the United States District Court as reimbursement
toward the cost of representation until the balance is paid in full. The first
payment to the clerk’s office shall be made by __________. Subsequent monthly
payments shall be made by the ____ of each month. If the defendant’s financial
circumstances change significantly, the defendant may file an amended
financial affidavit and the court will consider whether the payment plan should
be changed. During any period of incarceration payments shall be suspended.
        DATED this 17th day of October, 2016.

                                      BY THE COURT:


                                      VERONICA L. DUFFY
                                      United States Magistrate Judge




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